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                  UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF COLUMBIA
  * * * * * * * * * * * * * * * *
 UNITED STATES OF AMERICA,         ) Criminal Action
                                   ) No. 21-597
 vs.                               )
                                   )
 JAVIER ALGREDO VAZQUEZ,           ) September 29, 2021
                Defendant.         ) 12:30 p.m.
                                   ) Washington, D.C.
  * * * * * * * * * * * * * * * *

                     TRANSCRIPT OF PROCEEDINGS
               BEFORE THE HONORABLE BERYL A. HOWELL,
              UNITED STATES DISTRICT COURT CHIEF JUDGE

              (Parties appearing via videoconference.)

 APPEARANCES:

 FOR THE UNITED STATES:
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 FOR THE DEFENDANT:
                        CARMEN D. HERNANDEZ
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 ALSO PRESENT:          CHRISTINE SCHUCK, Pretrial Agent
                        TERESA SALAZAR, Spanish Language Interpreter

 Court Reporter:        Elizabeth Saint-Loth, RPR, FCRR
                        Official Court Reporter

         This hearing was held via videoconference and/or
   telephonically and is, therefore, subject to the limitations
   associated with audio difficulties while using technology,
                 i.e., static interference, etc.

            Proceedings reported by machine shorthand.
       Transcript produced by computer-aided transcription.
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1                            P R O C E E D I N G S

2                 THE COURTROOM DEPUTY:      Matter before the Court,

3      Criminal Case No. 21-597, United States of America versus

4      Javier Algredo Vazquez.

5                 Your Honor, for the record, Pretrial Agent

6      Christine Schuck is joining us via telephone.          Ms. Teresa

7      Salazar is here as an interpreter, if needed, for the

8      witness.

9                 Counsel, please state your names for the record,

10     starting with the government.

11                MS. NASEEF:     Kate Naseef for the United States.

12     Good afternoon, Your Honor.

13                THE COURT:    Good afternoon, Ms. Naseef.

14                And for the defendant.

15                MS. HERNANDEZ:     Good afternoon, Your Honor.

16     Carmen Hernandez.

17                Mr. Algredo is joining us by video from the jail.

18                Your Honor, I was just talking -- speaking to his

19     wife who is having trouble connecting.        The numbers I gave

20     her said the pass code wasn't working.        I was about to -- if

21     the Court would give me a moment, I am going to try to

22     communicate the same numbers to her again.

23                THE COURT:    That's fine.

24                Ms. Hernandez, why don't you just give

25     Mr. Algredo's wife the public access line.         Maybe that will
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1      be the easiest way for her.       I don't think I am going to

2      need to speak to her, so there is no reason for her to have

3      to call in that way.

4                 MS. HERNANDEZ:     Okay.   Thank you, Your Honor.

5                 THE COURT:    But I appreciate that she wants to

6      hear what is going on, so the public access line will

7      probably work best.

8                 MS. HERNANDEZ:     Yes, Your Honor.

9                 I just sent her the numbers, Your Honor.

10                THE COURT:    Okay.    Thank you.

11                Ms. Hernandez, you have spoken to Mr. Algredo; and

12     you spoke to him in Spanish.

13                Given your facility with both languages, do you

14     have confidence that Mr. Algredo can understand everything

15     in English?

16                MS. HERNANDEZ:     Yes, Your Honor.

17                He speaks English with a little bit of an accent,

18     but he has participated in the previous hearings in English;

19     and he requested that it be in English when we appeared

20     before the magistrate.

21                THE COURT:    I see.    Okay.   Thank you,

22     Ms. Hernandez.

23                All right.    Mr. Algredo Vazquez, do you agree

24     after consultation with your counsel, Ms. Hernandez, to

25     participate in this hearing using videoconferencing
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1      technology rather than being physically here in the

2      courtroom?

3                   THE DEFENDANT:   Yes, I do.    Yes, I do.    Yes, I do.

4                   THE COURT:    Okay.   Thank you.

5                   Now, Mr. Algredo Vazquez has not been arraigned on

6      the indictment.

7                   Is that correct, Ms. Naseef?

8                   MS. NASEEF:   Yes, Your Honor.

9                   THE COURT:    All right.   So, Ms. Hernandez, have

10     you shown Mr. Algredo Vazquez a copy of the indictment?

11                  MS. HERNANDEZ:   I have not, Your Honor.

12                  I mailed it, but I don't think he has received it.

13     When we had the hearing last time, the document was still

14     sealed.   So I don't believe he has seen the indictment.

15                  THE COURT:    All right.   So I guess we will read

16     this indictment.

17                  All right.    So, Ms. Gumiel, please read the

18     indictment.

19                  THE COURTROOM DEPUTY:      United States of America

20     versus Javier Algredo Vazquez, defendant; Criminal

21     No. 21-597, Indictment.

22                  The grand jury charges that:

23                  Count One.    Beginning in or around 2011, and

24     continuing thereafter, up to and including the date of the

25     filing of this Indictment, the exact dates being unknown to
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1      the Grand Jury; in the countries of China, Mexico, the

2      United States, and elsewhere, the Defendant, Javier Algredo

3      Vazquez, also known as "Men," together with others known and

4      unknown to the Grand Jury, did knowingly, intentionally, and

5      willfully combine, conspire, confederate, and agree to

6      manufacture and distribute 500 grams or more of a mixture or

7      substance containing a detectable amount of methamphetamine,

8      a Schedule II controlled substance, intending, knowing, and

9      having reasonable cause to believe that such substance would

10     be unlawfully imported into the United States, in violation

11     of Title 21, United States Code, Sections 959(a) and 960,

12     all in violation of Title 21, United States Code,

13     Section 963 and Title 18, United States Code, Section 2.

14                With respect to the Defendant, the controlled

15     substance involved in the conspiracy attributable to him as

16     a result of his own conduct, and the conduct of other

17     conspirators reasonably foreseeable to them is 500 grams or

18     more of a mixture or substance containing a detectable

19     amount of methamphetamine, in violation of Title 21, United

20     States Code, Section 960(b)(1)(H).

21                Conspiracy to manufacture and distribute 500 grams

22     or more of methamphetamine, intending, knowing, and having

23     reasonable cause to believe that such substance would be

24     unlawfully imported into the United States, in violation of

25     Title 21, United States Code, Sections 959(a), 960(b)(1)(H),
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1      and 963; and Title 18, United States Code, Section 2.

2                 Count Two.    Beginning in or around 2011, and

3      continuing thereafter, up to and including the date of the

4      filing of this Indictment, the exact dates being unknown to

5      the Grand Jury, in the countries of China, Mexico, the

6      United States, and elsewhere, the Defendant, Javier Algredo

7      Vazquez, also known as "Men," together with others known and

8      unknown to the Grand Jury, did knowingly, intentionally, and

9      willfully combine, conspire, confederate, and agree to

10     distribute List 1 chemicals, that is, methylamine, and

11     others, intending and knowing that such chemicals would be

12     used to manufacture a controlled substance, that is

13     methamphetamine, a Schedule II controlled substance, and

14     intending, knowing, and having reasonable cause to believe

15     that the controlled substances would be unlawfully imported

16     into the United States, in violation of Title 21, United

17     States Code, Sections 959(b) and 960, all in violation of

18     Title 21, United States Code, Section 963 and Title 18,

19     United States Code, Section 2.

20                Conspiracy to distribute a listed chemical for

21     manufacture of a controlled substance, in violation of

22     Title 21, United States Code, Sections 959(b), 960, and 963;

23     and Title 18, United States Code, Section 2.

24                Count Three.     Beginning in or around January 2018,

25     and continuing thereafter, up to and including the date of
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1      the filing of this Indictment, the exact dates being unknown

2      to the Grand Jury, in the countries of China, Mexico, the

3      United States, and elsewhere, the Defendant, Javier Algredo

4      Vazquez, also known as "Men," together with others known and

5      unknown to the Grand Jury, did knowingly, intentionally, and

6      willfully combine, conspire, confederate, and agree to

7      transport, transmit, and transfer and attempt to transport,

8      transmit, and transfer a monetary instrument and funds from

9      a place in the United States to and through a place outside

10     the United States and to a place in the United States from

11     and through a place outside the United States with the

12     intent to promote the carrying on of specified unlawful

13     activity, to wit, the crimes charged in Counts One and Two,

14     in violation of Title 18, United States Code, Section

15     1956(a)(2)(A), all in violation of Title 18, United States

16     Code, Section 1956(h).

17                Conspiracy to launder monetary instruments in

18     violation of Title 18, United States Code, Sections

19     1956(a)(2)(A) and (h).

20                Forfeiture allegation.      The United States hereby

21     gives notice to the Defendant that upon conviction of the

22     Title 21 offenses alleged in Counts One and Two of this

23     Indictment, the government will seek forfeiture in

24     accordance with Title 21, United States Code, Sections 853

25     and 970, of all property constituting or derived from any
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1      proceeds the Defendant obtained directly or indirectly as

2      the result of the alleged Title 21 violations, and all

3      property used or intended to be used in any manner or part

4      to commit and facilitate the commission of such offenses,

5      including but not limited to:

6                 (a) $190,623.59 in United States currency seized

7      from an account ending in 7754 and held in the name of

8      Pro Chemie New York, Inc.

9                 (b) the real property located at 4217 Ketcham

10     Street, Elmhurst, New York; and

11                (c) the real property located at 4215 Ketcham

12     Street, Elmhurst, New York.

13                The United States hereby gives notice to the

14     Defendant that upon conviction of the Title 18 offenses

15     alleged in Count Three of this Indictment, the government

16     will seek forfeiture in accordance with Title 18, United

17     States Code, Section 982(a)(1) of any property, real or

18     personal, involved in such offenses, and any property

19     traceable to such property, including but not limited to:

20                (a) $190,623.59 in United States currency seized

21     from an account ending in 7754 and held in the name of

22     Pro Chemie New York, Inc.

23                In addition, if any of the above-described

24     forfeitable property, as a result of any act or omission of

25     the Defendant:
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1                   (a) cannot be located upon the exercise of due

2      diligence;

3                   (b) has been transferred or sold to, or deposited

4      with, a third person;

5                   (c) has been placed beyond the jurisdiction of the

6      Court;

7                   (d) has been substantially diminished in value; or

8                   (e) has been commingled with other property which

9      cannot be subdivided without difficulty;

10                  it is the intent of the United States, pursuant to

11     Title 21, United States Code, Section 853(p) and Title 18

12     [sic], United States Code, Section 2461 to seek forfeiture

13     of any property of the Defendants up to the value of the

14     above forfeitable property, including but not limited to:

15                  (a) the real property located at 4217 Ketcham

16     Street, Elmhurst, New York;

17                  (b) the real property located at 4219 [sic]

18     Ketcham Street, Elmhurst, New York;

19                  (c) the real property located at 3705 69th Street,

20     Woodside, New York;

21                  (d) the real property located at 6911 Woodside

22     Avenue, Flushing, New York.

23                  Criminal forfeiture, in violation of Title 21,

24     United States Code, Sections 853 and 970; Title 18, United

25     States Code, Section 982; and Title 28, United States Code,
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1      Section 2461(a)(2)(B) [sic], a true bill.         And signed by the

2      Foreperson; Arthur G. Wyatt, Chief, Narcotic and Dangerous

3      Drug Section, U.S. Department of Justice, Washington, D.C.

4      20530 --

5                  THE COURT:    You don't have to read all of the

6      signatures.

7                  All right.    So, Mr. Algredo Vazquez, you are

8      charged with three felony charges.        Count One is a Class A

9      felony; and the penalty that that carries is a mandatory

10     minimum term of ten years, and up to life.

11                 Count Two is also a Class A felony carrying the

12     same penalty of -- a mandatory minimum of 10 years'

13     imprisonment to life.

14                 The money laundering conspiracy charge set out

15     that was just read to you and Count Three is a Class C

16     felony, and that carries a maximum term of imprisonment of

17     up to 20 years, as well as a fine.

18                 MS. HERNANDEZ:     Your Honor, on behalf of

19     Mr. Algredo, he pleads not guilty to all counts, asserts his

20     rights to a speedy trial, asserts his right under the Fifth

21     and Sixth Amendments to not be questioned except in the

22     presence of his counsel.

23                 THE COURT:    Thank you, Ms. Hernandez.

24                 Ms. Hernandez, can I just pause for a minute.

25                 Are you having some difficulty getting documents
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1      to Mr. Algredo Vazquez, including a copy of the indictment,

2      or has there just not been enough time?

3                  MS. HERNANDEZ:     There's not been enough time.         I

4      mean, we have been working through this.

5                  I have my investigator who is supposed to go visit

6      him, and I just haven't gotten to the jail myself.              And the

7      jail is no longer facilitating our documents to the

8      defendants, Your Honor.

9                  THE COURT:    And how are you getting documents to

10     the defendants then?

11                 MS. HERNANDEZ:     Either in person, by mail or, if

12     my investigator is available, then he drops them off.

13                 THE COURT:    I see.   Okay.

14                 All right.    So, in addition to doing an

15     arraignment, I think we have two other issues on the agenda.

16     One, is to -- the government's motion for review, of course,

17     of the magistrate judge's pretrial release order.           And then

18     the next thing on the agenda is to figure out -- just,

19     basically, have the standard initial status conference so I

20     can hear from the government about what the nature of the

21     discovery is going to be in the case, and so on.

22                 So what I think we should do is -- let me just

23     proceed with the detention hearing part of this hearing.

24     And before we conclude, we'll go to the initial status

25     conference form of the hearing.
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1                  So let me just start by discussing what I have

2      reviewed in connection with the government's motion for

3      review of the magistrate judge's pretrial release order.

4                  I have looked at the government's motion on that,

5      docketed at ECF 10, as well as the criminal complaint; the

6      indictment, of course; the defendant's opposition to

7      pretrial detention that was filed before me first as an

8      exhibit, at ECF 14-1.

9                  I have also looked at the transcript of the

10     hearing before Magistrate Judge Faruqui and the defendant's

11     opposition to the government's motion docketed at ECF 14,

12     and the government's reply docketed at ECF 15.          And I think

13     that's about it.

14                 Have I missed anything from the government,

15     Ms. Naseef?

16                 MS. NASEEF:    ECF 6, I believe, was our original

17     detention --

18                 THE COURT:    Yes.   I have read both of the

19     government's memos docketed at ECF 6, and the one docketed

20     at ECF 10, and ECF 15.

21                 Ms. Hernandez, have I missed any papers from the

22     defense?

23                 MS. HERNANDEZ:     No, Your Honor.

24                 And, just for the record, I think the original

25     opposition that I filed before the magistrate judge has now
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1      been filed before Your Honor in a different number.

2                   THE COURT:    Yes.   I know it's gotten a little

3      complicated.     That's part of the reason I wanted to make

4      sure I got everything.

5                   Okay.   So let me just -- it's the government's

6      motion, so let me start with the government.

7                   So Count Two charges the defendant with a

8      conspiracy to distribute illicit chemicals to manufacture,

9      unlawful importation of a controlled substance.          And

10     Ms. Hernandez has, you know, made a number of points about

11     how the specific chemicals that are discussed in the

12     complaint, from:     Sodium gluconate, benzyl alcohol,

13     4-amino-3, 5-dichloroacetophenone, methyl thioglycolate, and

14     the oxalic acid that was seized, you know, are not

15     Schedule 1 chemicals; they're not controlled substances in

16     any way.

17                  So is she right on that?

18                  MS. NASEEF:   No, Your Honor.

19                  The complaint charged the 959(a) conspiracy, so

20     that's why it includes chemicals that are not listed as well

21     as chemicals that are.

22                  The methyl thioglycolate, I believe, that is a

23     name of -- which is one of the chemicals that has been

24     discussed in the detention memo, that is a List 1 chemical,

25     methylene.    The other chemicals, oxalic acid, gluconate,
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1      those are not listed chemicals, but they are known precursor

2      chemicals that are used in the manufacturing process for

3      methamphetamine.

4                  THE COURT:    So when you say "methylene," is that

5      the methyl thioglycolate?

6                  MS. NASEEF:    Let me just double-check to make

7      sure.   I'm sorry.    In the chemical industry there are a lot

8      of chemical names.      I want to double-check.

9                  The methylene is the listed chemical that is

10     specifically named in the indictment.         And the -- that is

11     the listed chemical that the 959(b) conspiracy is

12     specifically tied to.

13                 THE COURT:    Okay.    And in the complaint there are

14     the chemicals that I just listed -- five chemicals -- that

15     are specifically discussed as the government having

16     documentation about the defendant's involvement in this

17     company that he is associated with, Pro Chemie New York

18     City, Inc. [sic] as having been engaged in shipping those

19     chemicals from various parts of the world; India, China, to

20     Mexico.

21                 So there is no documentation about the listed

22     methylene chemical, right?        It's just documentation

23     described in the complaint about these five chemicals;

24     sodium gluconate, benzyl alcohol, dichloro acetophenone,

25     methyl thioglycolate and oxalic acid.         Hence, Ms. Hernandez
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1      has made the argument that none of those chemicals for which

2      the government has proffered documentation tying this

3      defendant to those chemicals is a listed chemical or is a

4      scheduled substance at all.

5                  I am just asking, is that right?

6                  MS. NASEEF:    Right.   Those chemicals are not

7      listed chemicals.

8                  The government does have documentation of the

9      methylene that the defendant and his co-conspirators were

10     involved in distributing, and there was a seizure of some of

11     that methylene that the government also has documentation

12     of.   I believe some of it was in our first discovery to

13     Ms. Hernandez, although some of it still does need to be

14     produced.    That was not named -- I do not believe that was

15     named in that seizure -- item was named in the criminal

16     complaint as the criminal complaint was only charging the

17     959(a) conspiracy, not the 959(b) conspiracy.

18                 The chemicals are not listed, Your Honor; that is

19     correct.

20                 THE COURT:    Okay.   But you do describe these five

21     chemicals in the complaint.       You do describe those as

22     precursor chemicals for methamphetamine manufacturing,

23     correct?

24                 MS. NASEEF:    Yes.

25                 THE COURT:    And could you describe how they're
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1      used in methamphetamine production or manufacturing?

2                  What's the basis for the government's proffer that

3      sodium gluconate, benzyl alcohol, amino dichloro

4      acetophenone, and methyl thioglycolate, and oxalic acid are

5      precursor chemicals for methamphetamine manufacturing?

6                  MS. NASEEF:    Yes, Your Honor.

7                  DEA chemical experts would testify at trial that

8      those chemicals are used in the process of producing

9      methamphetamine.

10                 THE COURT:    But you yourself don't know how?

11                 MS. NASEEF:    I don't know exactly which part of

12     the process each of those chemicals are used in, no, Your

13     Honor.

14                 THE COURT:    Okay.   And is there anything about the

15     amounts of the oxalic acid and the other chemicals that were

16     involved in the shipments connected to the defendant or the

17     nature of all of those chemicals in combination that

18     provide -- support the government's proffer that these

19     shipments were precursors to the production of

20     methamphetamine?

21                 I mean, because -- Ms. Hernandez has quite

22     creatively found, on Amazon, a picture of a 2-pound bag of

23     oxalic acid that's being sold on Amazon; clearly not a

24     listed substance.     Maybe it's to clean decks or to clean

25     marble; I don't know what it's used for.         It's used as some
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1      kind of cleaning substance.       So why -- what's the problem

2      here?

3                  MS. NASEEF:    Yes, Your Honor.

4                  THE COURT:    I mean, of course, this defendant,

5      according to the government's proffer, was associated with

6      two separate shipments of over 22,000 kilograms -- far more

7      than 2 pounds -- of oxalic acid to Veracruz, Mexico.            And

8      the other forms of -- the other 4 types of chemicals that

9      the government says are precursors are in the kilogram

10     quantities:    28,500 kilograms of sodium gluconate, 23,500

11     kilograms of benzyl alcohol, 250 kilograms of the amino

12     dichloro acetophenone, and 4800 kilograms of methyl

13     thioglycolate; so that's an awful lot of chemicals.

14                 So the government hasn't explained what they do as

15     precursors.    The government hasn't explained whether there

16     is something about the volume -- the combination of these

17     chemicals -- that support its proffer that they're

18     precursors.    So I'm giving you an opportunity now,

19     Ms. Naseef, to explain that.

20                 MS. NASEEF:    Yes, Your Honor.

21                 THE COURT:    If you can.

22                 MS. NASEEF:    I don't know the exact -- I don't

23     know the exact chemical process but, generally, in producing

24     methamphetamine, a number of different chemicals are mixed

25     together to create the chemical reaction that ultimately
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1      ends in methamphetamine, the controlled substance.              And

2      those processes -- what I can also say is that the cartels,

3      the people who produce methamphetamine, change those

4      processes over time.      As certain chemicals become harder to

5      get, they have to adapt; and they find different ways to

6      create the chemical chain reaction that ends in

7      methamphetamine being produced.        So this is a developing

8      process over years as to what goes into it.

9                  THE COURT:    That's not answering my question.

10                 MS. NASEEF:    Yes, Your Honor.     I will

11     continue to -- I just -- there were -- as to the quantities,

12     like Your Honor pointed out, these are very, very big

13     quantities.    I think the most I saw on Amazon was 4 pounds.

14     There were actually -- between February 2021, thousands of

15     kilograms of oxalic acid -- three other shipments that were

16     seized.

17                 None of the -- of all of the chemicals that the

18     government has traced to Mr. Algredo and his

19     co-conspirators, every single one of them has been a

20     chemical used in the production of methamphetamine.             There

21     have been no chemicals that were traced to them that are not

22     used in the process.

23                 And the quantities of these drugs that are -- I'm

24     sorry -- the chemicals that are being imported and over the

25     short period of time is indicative of pending use for
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1      illicit purposes, along with the other evidence that the

2      government has collected showing that Mr. Algredo and his

3      co-conspirators are using these drugs for that purpose.

4                  THE COURT:    Would your DEA agent on this case have

5      more information about how these drugs are used in

6      methamphetamine production and what it is about both the

7      quantities and the combination of these drugs that suggest

8      that they are for use precisely for methamphetamine

9      production?

10                 MS. NASEEF:    I think a DEA chemist would probably

11     be the best person to speak specifically to where these are

12     used in the chemical process and the quantities, and those

13     sorts of -- that detailed analysis of the chemicals

14     themselves.

15                 But, Your Honor, I would also say --

16                 THE COURT:    I mean, let me put it to you this way,

17     Ms. Naseef.    I mean, for all I know -- and I have no

18     information in front of me why the oxalic acid is any more

19     useful in methamphetamine production than salt, which is

20     also moved around in tonnage.       It's like a huge gap in, sort

21     of, the government's explanation of what's going on here.

22                 So, I mean -- which is -- I think part of why

23     Ms. Hernandez is saying, you know, these chemicals, oxalic

24     acid -- you can get it on Amazon.        I don't have any

25     information other than a sort of very blanket statement that
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1      the government says that it actually is used in

2      methamphetamine production, even though it clearly has a lot

3      of legitimate uses, right?

4                  MS. NASEEF:    Yes, Your Honor.

5                  The long list of chemicals has used -- every

6      chemical that is used to produce methamphetamine --

7      pseudoephedrine also has a legitimate use as well.              But

8      those chemicals -- that is part of the evidence, and I

9      believe, in the complaint; it's tying those specific

10     financial transaction.

11                 THE COURT:    Correct.

12                 MS. NASEEF:    There is also the evidence -- there

13     is also the evidence of the methylene shipment, which is --

14     methylene is a List 1 controlled chemical.          And there is

15     also the evidence --

16                 THE COURT:    And the methylene shipment -- the

17     methylene shipment is -- where is that discussed?

18                 MS. NASEEF:    I believe that is discussed in the

19     detention memos.     I don't believe that was included in the

20     criminal complaint.

21                 The defendant -- there was a shipment of -- I

22     don't remember the exact -- 24 and a half metric tons of

23     methamphetamine that was seized in Oakland, California, in

24     June of this year.      That was associated with Company 1 -- I

25     think is how it's referred to in the complaint because of
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1      the sealed indictment against one of the co-conspirators;

2      and that is the methylene shipment.

3                   Cooperating witnesses have also provided testimony

4      that previously the defendant supplied --

5                   THE COURT:    And what is the documentation

6      connecting this defendant to the methylene shipment by

7      Mexican Company 1?

8                   MS. NASEEF:   There is a lot of evidence that shows

9      that the owner of Mexican Company 1 and -- Mexican Company 1

10     had -- regularly do business with the defendant and

11     Pro Chemie New York; there's emails between them.           There

12     are --

13                  THE COURT:    I am aware of that.    I have read the

14     complaint.    But those are about other shipments for oxalic

15     acid, right? -- not about methylene.         What is the

16     documentation connecting this defendant to the methylene

17     shipment?

18                  MS. NASEEF:   The defendant's name and/or company

19     name are not specifically on the bill of lading or invoice

20     for the methylene shipment; it was an overall part of the

21     conspiracy.    And there is evidence about Co-conspirator 1

22     and Company 1 working together with defendant and his

23     company beyond those three oxalic acid shipments.

24                  There is other documentary evidence of that in

25     both financial transactions between the companies as well as
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1      email traffic between the two individuals, as well as

2      co-conspirator testimony about them working together to

3      supply these chemicals.

4                  THE COURT:    Okay.   But I think the answer to my

5      question is:     There is no documentation tying this defendant

6      or Pro Chemie to the methylene shipment; is that right?

7                  MS. NASEEF:    There is no documentation --

8      specifically, yes.

9                  THE COURT:    No documentation, no record of emails,

10     nothing like that -- this is just -- to the methylene

11     shipment; is that right?

12                 MS. NASEEF:    That one methylene issue --

13                 THE COURT:    Other than -- because the emails that

14     you have talked about in the complaint are about the oxalic

15     acid; the April 11, 2021, email.        And there is also, I

16     guess, an email from July 15th, 2021, to the defendant's

17     personal Yahoo.com account.       Both relate to the oxalic acid.

18     But I didn't see any email connections or a bill of lading,

19     anything like that, that had to do with the methylene

20     shipment from Mexican Company 1.

21                 Am I missing that somewhere?

22                 MS. NASEEF:    No.    You are not missing that --

23                 THE COURT:    Okay.

24                 MS. NASEEF:    The defendant's name, his company's

25     name is not on that bill of lading or --
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1                  THE COURT:    Okay.   And there were two -- the

2      complaint talked about the seizure of oxalic acid -- 22,000

3      kilograms of oxalic acid on February 25, 2021, and for the

4      seizure of 22,686 kilograms of oxalic acid on August 23,

5      2021.   When is the third seizure that you are talking about

6      oxalic acid?

7                  MS. NASEEF:    The third one was the week after

8      that; so the last week of August.        It was also in Seabrook,

9      Texas, at that same port.

10                 THE COURT:    And is there documentation connecting

11     this defendant or his Pro Chemie company to the third oxalic

12     acid seizure?

13                 MS. NASEEF:    Yes, Your Honor.     They were -- his

14     company's name and registered address were on those

15     documents; the bills of lading and documents for that

16     shipment.

17                 THE COURT:    Okay.   But that last shipment seizure

18     was not referenced in the complaint, right?

19                 MS. NASEEF:    No, it was not.     That last one was

20     not.    I think that was mostly a timing issue as the

21     investigation continued to proceed as we moved forward to

22     charging.

23                 THE COURT:    All right.    So the complaint --

24                 MS. NASEEF:    The defendant --

25                 THE COURT:    Yes.    Go ahead.
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1                  MS. NASEEF:    I wanted to circle back on one thing

2      with the methylene shipment.

3                  The defendant did make admissions at the time of

4      arrest about his knowledge of that methylene shipment and

5      his company's involvement with what we'd call Company 1, so

6      I did want to point that out.       It's not documentary

7      evidence, but it is evidence of his company and his

8      connection to that shipment that was seized in June of this

9      year.

10                 THE COURT:    All right.    So based on what the

11     cooperating witnesses have said about sales of "iron,"

12     "dulce" or "loquera," the government says that those are

13     identified by those cooperators as precursor chemicals for

14     methamphetamine production as well.        But is the government

15     still unaware of what chemicals are actually being referred

16     to by the cooperators?

17                 MS. NASEEF:    Yes, Your Honor.

18                 So one of the chemicals that one of the

19     cooperators mentioned is methylene; we have identified that.

20                 THE COURT:    And which one is that, the iron,

21     dulce, or loquera?

22                 MS. NASEEF:    No.   I'm sorry.    That's in addition

23     to methylene that's been identified.         The cooperators knew

24     it was called methylene so, obviously, that was identified.

25                 The iron, dulce, and the loquera, we have not
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1      specifically figured out what the chemical name of those

2      three chemicals are.      We -- neither of the cooperating

3      witnesses are chemists.      As they said in the complaint, they

4      oversaw and worked in the methamphetamine labs so they knew

5      these chemicals by their street names, for lack of a better

6      word, that they used to describe them.

7                  THE COURT:    All right.    So there are a couple of

8      addresses in the forfeiture count on Ketcham Street.            Is one

9      a residence and one the address used by Pro Chemie, or do

10     you know?

11                 MS. NASEEF:    Yes.   One of the addresses is the

12     registered address of Pro Chemie New York.          I believe -- it

13     appears to also be Mr. Algredo's residence, as it's used as

14     the billing address for his financial accounts as well.

15                 The other four properties, I don't have any -- I

16     don't know exactly whether they are residential or

17     commercial, or how they're used by the defendant.

18                 THE COURT:    Okay.   So it's the government's

19     position that the defendant used his residence address as

20     the contact address for Pro Chemie; is that right?

21                 MS. NASEEF:    Yes, Your Honor.

22                 THE COURT:    Okay.   And Ms. Hernandez makes the

23     point that -- it's sort of interesting -- the defendant had

24     all of these fund transfers using a Bank of America account

25     quite out in the open.      And it's the government's proffer
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1      that all of these fund transfers for transactions for the

2      shipment of chemicals to Mexico were for the shipment of

3      precursor chemicals for methamphetamine production?

4                  MS. NASEEF:    Yes, Your Honor --

5                  THE COURT:    Because it is -- it is an interesting

6      point, isn't it, that if all of these fund transfers were

7      being done to help support the Jalisco cartel's

8      methamphetamine production -- it's interesting that they

9      were all done through a perfectly legitimate Bank of

10     America -- a Bank of America account, and all done quite in

11     the open.

12                 Does the government have -- want to respond to

13     that?

14                 MS. NASEEF:    Yes, Your Honor.

15                 The chemicals -- so these chemicals are produced,

16     manufactured, and sold by chemical companies mostly overseas

17     China, India, and other places.        And in order to purchase

18     those chemicals, they have to wire transfer money to those

19     chemical companies' bank accounts.        These are, as far as we

20     know, legitimate chemical companies; they're not going to

21     accept a payment from a black market peso exchange or

22     pallets of U.S. dollars.       They have to receive payment

23     through legitimate commercial methods.         So it's not

24     surprising that those chemicals would be paid for through a

25     wire transfer from a U.S. bank account; that's how they
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1      would have to be paid.

2                  The government is not asserting that that is the

3      only money that the defendant or his co-conspirators have or

4      use.   But, ultimately, when it makes that step from the

5      defendant to the companies providing the chemicals, it has

6      to be through that open method.

7                  THE COURT:    All right.    So the government has

8      pointed out in the complaint and other documents to the

9      defendant owning a ranch in Jalisco, Mexico.

10                 Is the only evidence that the government has about

11     the defendant owning property or a ranch in Jalisco, Mexico,

12     the statements of CW1 and CS1, or does it have any other

13     evidence about that?

14                 MS. NASEEF:    No.   That evidence is provided by the

15     cooperating witnesses.

16                 THE COURT:    All right.

17                 MS. NASEEF:    The government has several

18     outstanding MLATs to the government of Mexico, but we have

19     not received responses to those yet.

20                 THE COURT:    So could you just describe, based on

21     what the government has been able to ascertain,

22     approximately how often Mr. Algredo Vazquez travels to

23     Mexico?

24                 MS. NASEEF:    Yes, Your Honor.     One second.

25                 Let me find my note on that.
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1                  I know his last trip, he returned about two weeks

2      ago from Mexico.     And I know he traveled there about seven

3      to eight times over the last two years since 2019.              Of

4      course, that's been during the pandemic -- largely during

5      the pandemic.     But since 2019 he's traveled to Mexico

6      approximately seven to eight times according to border

7      records.

8                  THE COURT:    And you don't have any numbers on

9      prepandemic travel?

10                 MS. NASEEF:    I don't have those numbers.          Well,

11     some of 2019 would be prepandemic, but I don't have numbers

12     before 2019 at this time, Your Honor.

13                 THE COURT:    All right.    And Ms. Hernandez says

14     that, you know, CW1, CS1 really aren't reliable, credible

15     because, you know, CW1 is trying to work off a federal drug

16     trafficking charge.      CS1 is a paid informant.

17                 So I appreciate that the agent in the affidavit

18     said that their information hasn't ever been wrong, but is

19     there any other reason why this Court should accept the

20     government's proffer based on information from CW1 and CS1?

21                 MS. NASEEF:    Yes, Your Honor.

22                 I know this is a de novo review; I argued for

23     that.   But I will just put out that Judge Faruqui did find

24     their information to be credible.        I believe the word he

25     used was "plausible."      And I think, in part, he mentioned
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1      that's because his information was largely corroborated by

2      the documentary evidence in this case.

3                  Basically, the information they provided, if you

4      look at the documents, it tracks how these individuals are

5      working together and what they're doing.         So it's

6      corroborated just in this case -- not even looking at the

7      history of those cooperators -- but, Judge, in this case,

8      their information is corroborated by the financial records,

9      by the bills of lading, by the invoices, by all of that

10     documentary evidence.

11                 And, you know, I would also just say that, as Your

12     Honor knows, our witnesses are often also, you know,

13     individuals who have committed crimes; that's why they know

14     about the defendant's crimes, is because they were also

15     committing crimes.      There is not a lot of noncriminal

16     witnesses that would have that type of knowledge.

17                 THE COURT:    All right.    So Magistrate Judge

18     Faruqui's release conditions are fairly extensive.

19                 What are the problems with home incarceration, GPS

20     monitoring, no communications allowed, no banking, no

21     internet access -- I mean, no use of the phone, electronic

22     devices.    You know, what -- why is that -- all those

23     stringent conditions not enough here?

24                 MS. NASEEF:    Yes, Your Honor.

25                 As you know, this is a case that raises the
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1      rebuttable presumption of detention.         The only other

2      information that the defendant has proffered is that he has

3      lived in the U.S. for 30 years, and his wife and two

4      children are here, and he has no criminal record.

5                  But as you pointed out in the charges, of the

6      reading, the defendant has been engaged in this charged

7      conspiracy for the last ten of those years.          And if the

8      defendant is convicted, as you point out during the

9      arraignment, he faces a minimum mandatory sentence of ten

10     years, a sentencing guideline range that will probably come

11     out to life imprisonment, and a potential forfeiture of the

12     identifiable -- identified property that is also named in

13     the indictment.     So those are all very strong incentives for

14     the defendant to flee; incentives that he did not have over

15     the last 30 years when he wasn't facing criminal charges.

16                 And the defendant also, you know, as distinguished

17     from other defendants, does have the means and the

18     opportunity to flee that some other defendants might not

19     have.    He is also a Mexican citizen, in addition to being a

20     U.S. citizen.     He has family, financial ties in Mexico.        We

21     have already discussed his travel there, frequent travel

22     there.

23                 We have already discussed the ranch, but he also

24     has access to substantial access there through his

25     co-conspirators and the cartel itself.         And as I know we
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1      have pointed out to Your Honor previously, the cartel that

2      he worked for controls smuggling routes in the United States

3      that they use every day to bring drugs in and to bring money

4      back to Mexico.     Simply put, that means taking away the

5      defendant's U.S. passport is not going to prevent him from

6      being able to get to Mexico if he so chooses to do so; and

7      both he and the cartel have a strong incentive for him not

8      to remain here to face these charges.

9                  THE COURT:    So Ms. Hernandez has presented a very

10     different picture of the defendant with his -- with even his

11     work stub showing -- she says he's worked at the Park Hyatt

12     for 16 years.     You know, she's shown a pay stub showing 40

13     hours a week of work.      So is it the government's position

14     that he may have worked at the Park Hyatt but he also ran

15     this Pro Chemie chemical company with millions of dollars of

16     transactions on the side?

17                 MS. NASEEF:    Yes, Your Honor.

18                 The defendant is the sole signatory on that Bank

19     of America bank account that had over 8.7 million, I

20     believe -- the exact number is in the complaint -- but $8.7

21     million moved through it just in 2018.         He is the sole

22     signatory on that account.       So he certainly was running this

23     company that was, you know, transferring these large

24     quantities of money during that time.

25                 THE COURT:    All right.    Do you have anything else
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1      you want to add, Ms. Naseef, before I turn to Ms. Hernandez?

2                  MS. NASEEF:    No, Your Honor.

3                  I think we covered all of the points that I was

4      going to make as to your questions.        Thank you.

5                  THE COURT:    All right.

6                  So, Ms. Hernandez, could you just explain to me

7      Mr. Algredo Vazquez's work history here?

8                  I mean, he has lived in the United States -- I get

9      it, you know -- from what you said, about 30 years.             And he

10     has worked at the Park Hyatt hotel chain, I guess, in

11     New York and New Jersey for 16 years; is that what you are

12     proffering?

13                 MS. HERNANDEZ:     Yes, Your Honor.

14                 And I will submit the government has not denied

15     that or presented anything to the contrary.

16                 As the Court noted, there is a pay stub that shows

17     year-to-date earnings, 40 hours a week.         It defies -- what

18     the government is arguing defies logic.         The man is working

19     40 hours a week in a regular job at a company when -- to

20     hear them talk, he would be a multimillionaire transferring

21     millions of dollars; it just makes no sense.

22                 THE COURT:    Or he's very, very busy all of the

23     time, because it is a real contrast that I have got here in

24     how Mr. Algredo Vazquez spends his time, you know, working

25     as a paid employee at Park Hyatt 40 hours a week, living his
     Case 1:21-cr-00597-BAH Document 47 Filed 03/31/23 Page 33 of 75       33


1      life with his children and wife in Elmhurst versus, you

2      know, multimillion-dollar transactions in global chemical

3      shipments to Mexico.      He's either really, really busy or you

4      are right, it's hard to reconcile those two pictures.

5                   MS. HERNANDEZ:    Correct.   And the government's

6      argument that the money in this company -- first of all, the

7      chemical companies in China and India are legitimate

8      companies.    So that money, the millions that the government

9      claims is going to chemical -- Chemie, New York, that is not

10     money that is his; it's transferring through an account.

11     That Chemie company is a brokerage company; there are

12     thousands of them in New York.        They purchase the goods from

13     one location, they go to another.

14                  THE COURT:   You are not denying, Ms. Hernandez,

15     that he also ran this Pro Chemie company.         His name is all

16     over it; his address is on it; his phone number is on it;

17     his signature is on it.       I guess you are not denying that.

18                  You are just saying it was an import/export

19     business that he was running after his 40 hours a week at

20     Park Hyatt?

21                  MS. HERNANDEZ:    Correct.   I have not had -- and

22     the government did produce discovery, I have not had an

23     opportunity to review it; I don't know what's in it.

24                  So it appear s -- from just accepting the

25     government's complaint on this point, this is a company
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1      that's registered under New York law; it is transacting

2      business aboveboard.      I know the government is saying that's

3      how they have to do it.      I have represented money laundering

4      cases where it is -- they're ultimately going through banks.

5      But, ordinarily, there is a whole, you know, money exchange;

6      black money exchange procedures all over the place; they're

7      not saying that at all here.

8                  If Mr. Algredo is to be held accountable for these

9      drugs that go through this Chemie company, why aren't the

10     legitimate companies -- these quantities of legitimate

11     chemicals would give rise to some indication of wrongdoing.

12     Why aren't they charging the chemical companies that are

13     selling them to him?

14                 It just doesn't -- it doesn't make any --

15     something is wrong with this picture, I would say.              There is

16     a conspiracy they claim that's been going on for ten years

17     including, now, allegations that he participated in the

18     actual manufacturing of the drugs.        But there is not a

19     single voice mail, text message, email, photograph, video --

20     all of the evidence that the Court is well familiar with in

21     these cases that would tie him to some illicit activity.

22                 I mean, all the text messages are related to this

23     Chemie.    And the bills of lading are there describing the

24     quantities and the types of chemicals, so there is no --

25     what one would describe as "illicit activity," hiding the
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1      name of the chemical, hiding the quantity or storing it in

2      some false bottom or putting it in barrels of palm oil.          I

3      have had cases where they put this or that, and they hide it

4      or misdescribed the quantity.

5                  Everything appears to be aboveboard except we have

6      got these allegations that it was being used for something

7      illicit; it just doesn't make sense.         It doesn't make sense

8      that someone would be working 40 hours a week.          I Googled --

9      I did a Google search of that address; it's just a house

10     pretty close to the next house in Elmhurst.          The whole

11     neighborhood appears to be a residential area, some

12     buildings, not skyscrapers or anything; you know, three-,

13     four-story, six-story buildings; all appears to be just the

14     typical Queens, New York, neighborhood where -- just a

15     residential neighborhood.       It does not make sense.

16                 As far as the travel to Mexico, the most recent

17     travel -- I understand his brother passed away of COVID, and

18     so he went to visit.      He has got an elderly father in

19     Mexico.    But he has lived here with his wife as an American

20     citizen for 35 years.      It's just fantastical.      He has got a

21     son who is a freshman in college.        He's done -- I mean,

22     everything about the man is just -- not a ticket -- not a

23     prior conviction.     Nothing.

24                 His travels to Mexico are through ports of entry.

25     The transportation of these drugs -- these chemicals are
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1      through ports of entry.      It just doesn't make any sense, and

2      I think the government bears the burden.         And, as the Court

3      indicated, the conditions that the magistrate imposed are

4      pretty strict.

5                  I would submit to the Court that the government

6      bears the burden; they haven't proved it.         And even if --

7      you know, I guess the question is:        Are there conditions

8      that would satisfy the Court that he is not going to flee

9      and that he is not a danger to society.

10                 There is no allegation that he is selling drugs in

11     the U.S., really, or that he's manufacturing drugs.             The

12     allegations --

13                 THE COURT:    Well, aren't there allegations from

14     both of the cooperators, totally independently and

15     separately, that the defendant agreed to take payment for

16     some of the shipments in methamphetamine itself and told

17     both of them that he knew routes to transport

18     methamphetamine into the United States for sale; one in

19     California, the other in Texas?

20                 MS. HERNANDEZ:     Allegations.

21                 THE COURT:    There are -- there is information from

22     these cooperators independently corroborating each other.

23     How about that?

24                 MS. HERNANDEZ:     Well, I don't know that they

25     independently corroborate each other.
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1                  And, again, the point is that ordinarily you would

2      have some corroboration of that information; right?

3                  Is there -- for example, the one cooperator is

4      supposedly selling off -- is trying to work off his own

5      charges.    But the government doesn't tell us the charges

6      that that person is trying to work off related to

7      Mr. Algredo.

8                  The other cooperator is a paid informant who

9      supposedly had a charge in California in 2016.          The

10     government doesn't tell us that that charge had anything to

11     do with these drugs that they're claiming are related to

12     Mr. Algredo.

13                 It just doesn't -- I would think in a ten-year

14     conspiracy, which is what they're telling us, there would be

15     some evidence, some document, some picture, something that

16     corroborates other than someone saying:         Yeah, oh yeah, he's

17     the one.    It's just inconsistent.

18                 I have been doing this for a long time; the Court

19     has been sitting on the bench for a long time.          It's

20     inconsistent with someone working -- getting up and going to

21     work every day; having a wife of 30 years; having two

22     children at home -- the whole thing makes no sense.

23                 It just makes no sense that this man is getting up

24     and going to work every day; working at the same job -- 16

25     years for the Park Hyatt, and the last eight years at
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1      this -- in New York; that he's getting up every morning and

2      going to work at a decent amount of money, but nothing -- he

3      is not making a huge amount of money to be getting up every

4      morning and going to work.       It just doesn't make any sense

5      to me.

6                   THE COURT:   Yes, I know, Ms. Hernandez; you have

7      said that.

8                   MS. HERNANDEZ:    It's striking.

9                   THE COURT:   It is striking.     But it is a big

10     cartel.    It's, from all reports, a very violent cartel.

11                  MS. HERNANDEZ:    He's working --

12                  (Overlapping speakers.)

13                  THE COURT:   And he clearly has a connection in

14     running Pro Chemie with these transactions for precursor

15     chemicals for methamphetamine.

16                  MS. HERNANDEZ:    I'm sorry, Your Honor.

17                  But where is the evidence that the cartel is

18     involved?    Where is the evidence -- I mean, I know they're

19     saying that he works for the cartel.         But I haven't seen a

20     bit of evidence that, in fact -- how does the Pro Chemie get

21     linked to the cartel?      I don't know where that is found in

22     the --

23                  THE COURT:   Well, you know what, let me ask

24     Ms. Naseef.

25                  I know that both informants, cooperators in this
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1      case, were former Jalisco cartel members.         But other than

2      that, what is linking this defendant's -- except for the

3      government's proffer that these Pro Chemie chemical

4      shipments and the thousands of kilograms of different

5      chemicals was intended to land in the hands of the Jalisco

6      cartel, the CJNG cartel, for the purposes of methamphetamine

7      production -- other than these two cooperators, what is the

8      connection to the CJNG cartel?

9                  MS. NASEEF:    Yes, Your Honor.

10                 The cooperators, obviously, are members of the

11     cartel, one of them very high level.         What sort of connects

12     to that -- that bank account that was seized, the Pro Chemie

13     bank account -- all of the money in that bank account came

14     in from a Mexican company; and $5.9 million that came into

15     that bank account in January 2018 came in from what we have

16     been calling Company 1.      We have additional evidence that

17     ties Company 1 and Co-conspirator 1 to the cartel as well

18     through cooperators and information provided by foreign law

19     enforcement.

20                 If I could just respond to one other thing --

21                 (Overlapping speakers.)

22                 THE COURT:    Is that tied -- where is that laid

23     out, about Mexican company -- I know one of the

24     co-conspirators -- CC1 or 2 is tied to Mexican Company 1,

25     but where is it laid out in your complaint or your briefing
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1      that Mexican company No. 1 and funds from that company are

2      tied to the cartel or generated by the cartel?

3                   MS. NASEEF:   I don't -- Your Honor, I don't

4      believe that that specific point is laid out in the

5      complaint.    It does discuss the amount of money transferred

6      from Company 1 to Pro Chemie New York.

7                   THE COURT:    Yes.   I have read that.

8                   MS. NASEEF:   I don't believe -- I did not include

9      the information about Company 1's -- the evidence tying

10     Company 1 to the cartel in the criminal complaint or the

11     detention memo.

12                  THE COURT:    Why is that?   You don't think it's

13     relevant?

14                  MS. NASEEF:   Your Honor, I think it's relevant.

15                  I am trying to be cognizant of the fact that there

16     are still sealed matters and fugitives in this case, and I

17     have to weigh that as well in disclosing all of the evidence

18     in the case.

19                  I can proffer to Your Honor that there is

20     information provided -- also provided by cooperators, that

21     CC1 and Company 1 are also associated with the cartel in

22     providing chemicals to the cartel, and there is information

23     from Mexican law enforcement to a similar effect.

24                  MS. HERNANDEZ:    Your Honor, the recent case that I

25     had before Your Honor, you know, the boat case -- which is a
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1      nothing case by comparison to the arguments that the

2      government has made here -- there were 100,000 intercepted

3      phone calls.     I had a witness in the El Chapo case.          They

4      had hundreds -- I don't know -- thousands of text messages

5      among the people, coded messages, and everything.

6                   I can't believe that a ten-year conspiracy doesn't

7      generate a single document that can be attributed to this

8      defendant or to even the cooperators communicating with this

9      defendant.

10                  The only communications that they have in

11     connection with the defendant are communications with

12     respect to this New York registered corporation using bills

13     of lading, using bank records with respect to legitimate

14     shipments.    It just makes -- again, it's striking to me the

15     lack of evidence of any illicit activity by this person who

16     is married to the same woman for 30 years, has two children,

17     gets up and goes to work every day; it's just inconsistent.

18                  THE COURT:    And while he's getting up and going to

19     work every day, he's also managing what you call an

20     import/export brokerage system for tonnages of chemicals

21     that are being shipped to Veracruz, Mexico.

22                  MS. HERNANDEZ:      May I make one other point?

23                  THE COURT:    No.   I want to hear -- Ms. Naseef, you

24     had one other point to make?

25                  MS. NASEEF:   Yes, Your Honor.
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1                  On the point of his alleged other employment, I

2      would also just like to point out that it is also

3      inconsistent that the defendant and his wife who --

4      according to the defendant does not work -- owns $5 million

5      worth of property in New York that they have $3.5 million

6      worth of equity in; that's also inconsistent with just

7      working at a job that he's only made $30,000 a year to date

8      in.   So there are a lot of inconsistencies with the

9      defendant's financials, I would agree with that statement.

10     But he obviously has money coming in from elsewhere, as

11     indicated by the assets that are here in the U.S. that we

12     have identified.

13                 MS. HERNANDEZ:     So if I may respond to that.

14                 First of all, there is no question that he's

15     earning money from this company.        And according to the

16     government, they seized a bank account for this company that

17     had $190,000 in it.      The real estate market in New York is

18     ridiculous.    So the fact that -- and the amount of money

19     that the government is claiming the value of these

20     properties is not -- it's not all owned by him; some of it

21     is mortgaged -- most of it.       The home is mortgaged.        The

22     home was purchased 20 years ago, and they're making a

23     mortgage payment on it.      Again, he is earning money.

24                 He is -- and the point I wanted to make about this

25     company, the company -- it doesn't mean that he is working
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1      40 hours a week with this company.        These shipments are

2      occasional, and there is some money -- at least the

3      government has identified a handful of shipments that go

4      through this company, it's not -- he is not shipping --

5      there aren't 20 shipments every day according to -- I am

6      just accepting what the government's complaint -- has put

7      forth in the complaint.      And then there is a lot of argument

8      that the prosecutor is making which we, I guess, are

9      supposed to accept based on their investigation.           I just --

10                 THE COURT:    But, Ms. Hernandez, then your

11     explanation explains how he can both work 40 hours a week at

12     the Park Hyatt and, then, when a shipment has to be brokered

13     from India or China to Veracruz, in the tonnage amounts that

14     we have seen laid out in the complaint and other papers, he

15     can still take care of doing that and run Pro Chemie --

16                 MS. HERNANDEZ:     Correct.

17                 THE COURT:    -- with millions of dollars flowing

18     through the bank accounts for Pro Chemie.

19                 MS. HERNANDEZ:     That doesn't explain why a person

20     who in theory -- if the government's theory of the case is

21     correct, he is making -- he is part owner or a

22     co-conspirator in a multimillion-dollar cartel.          It doesn't

23     explain why that person would get up and go to work at a

24     blue collar job every day for -- I mean, he's worked at this

25     particular company for 16 years but, before that, he worked
     Case 1:21-cr-00597-BAH Document 47 Filed 03/31/23 Page 44 of 75            44


1      at other companies.      It just is inconsistent with -- let me

2      say this:    It would be the first drug trafficker that I have

3      represented who had a 9-to-5 job -- not just for, like, the

4      last three weeks, but for the last, you know, 30 years.                But

5      I guess we could -- we'll all learn something new.              It's

6      inconsistent.

7                  The picture the government is painting with very

8      broad strokes, I would submit to the Court, is inconsistent

9      with the pay stub -- the only stub that the wife sent to me

10     from one day to the next, you know, that's it.          It doesn't

11     make any sense.

12                 I don't think the government has met its burden.

13     And even if you accept the indictment for what it is, there

14     are -- I would submit to the Court, the conditions that --

15     the conditions that the magistrate judge imposed are

16     sufficient to reasonably assure that he will not flee and to

17     control whatever risk to society from his -- well, he is

18     not -- he can't possibly turn around and continue to ship

19     these things, and he can't possibly in New York be

20     manufacturing drugs -- I guess that's the argument, even if

21     you accept the government's theory.

22                 THE COURT:    All right.

23                 MS. NASEEF:    Your Honor, may I just --

24                 THE COURT:    Very briefly.    Very briefly, yes.

25                 MS. NASEEF:    I just want to point out that this is
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1      a case for presumption of detention, and Congress set that

2      presumption for a reason in these types of cases.           And so

3      far as the government is concerned, there is still a

4      presumption of detention -- and even that presumption still

5      carries some evidentiary weight, even if the Court finds

6      that the defendant proffered a basis to rebut that

7      presumption, which the government argues that defense did

8      not.

9                  And I would also like to point out that the

10     conditions of confinement that the magistrate judge set were

11     very strict.     If the defendant -- they are still enough to

12     ensure the defendant's appearance at trial based on the

13     extreme incentives that he has to flee and his unique

14     position with regard to his ability, resources, and

15     opportunity to flee to not face these charges.

16                 I agree the government's case is unique.            This is

17     not the case of a street-level dealer producing and directly

18     dealing drugs, you know, in D.C. or New York, or wherever.

19     But this is a case about someone who is actively leading the

20     cartel and of other cartels in producing much larger

21     quantities of methamphetamine for importation into the

22     United States of any individual street drug.

23                 THE COURT:    All right.    The Court is ready to rule

24     on the government's motion to review the magistrate judge's

25     pretrial release order for defendant Javier Algredo Vazquez.
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1                  Neither 18 U.S.C. Section 3142 nor Section 3145,

2      which authorizes review of a magistrate judge's release or

3      detention order, specifies the standard of review to be

4      applied by the district court.        And the D.C. Circuit has

5      declined to decide what standard applies on a district

6      court's review of a magistrate judge's release order and

7      whether the magistrate judge's factual or other findings are

8      entitled to any deference.       See U.S. v. Munchel, 991 F.3d

9      1273, jump cite 1280, D.C. Circuit 2021.

10                 Nonetheless, for years, this Court has exercised

11     de novo review, based on the text and structure of the Bail

12     Reform Act, and the weight of authority from every single

13     other circuit to consider critical issues and has held that

14     de novo review applies.      This Court has catalogued these

15     decisions in my decision in U.S. v. Chrestman, 2021 Westlaw

16     765662, a D.D.C. case from February 26, 2021.

17                 The Court will apply de novo review here.

18                 The Bail Reform Act requires release of a

19     defendant prior to trial unless a judicial officer

20     determines, after a hearing, that:        No condition or

21     combination of conditions will reasonably assure the

22     appearance of the person as required and the safety of any

23     other person and the community.        See 18 U.S.C. Section

24     3142(e)(1).

25                 The government bears the burden to establish, by a
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1      preponderance of the evidence, that the defendant poses a

2      serious risk of flight or a serious risk of obstruction or

3      attempt to obstruct justice; or intimidate or threaten a

4      prospective witness; and/or show, by clear and convincing

5      evidence, that no condition of release will assure the

6      safety of any other person or the community.          See 18 U.S.C.

7      3142(f)(2).

8                  In determining whether any conditions of release

9      can reasonably assure the appearance of the person as

10     required and the safety of others, the Court must take into

11     account the available information concerning four factors

12     set out at 18 U.S.C. Section 3142(g).         These four factors

13     are:   One, the nature and circumstances of the offense

14     charged; two, the weight of the evidence against the person;

15     three, the history and characteristics of the person; and

16     four, the nature and seriousness of the danger to any person

17     or the community that would be posed by the person's

18     release.

19                 When, as is the case here, probable cause exists

20     that the defendant committed an offense under the Controlled

21     Substances Import and Export Act that carries a maximum term

22     of at least 10 years' imprisonment, there is a rebuttable

23     presumption that:     No condition or combination of conditions

24     will reasonably assure the appearance of the person as

25     required and the safety of the community.         See 18 U.S.C.
     Case 1:21-cr-00597-BAH Document 47 Filed 03/31/23 Page 48 of 75     48


1      Section 3142(e)(3)(A).

2                  I'll discuss each of the requisite factors,

3      starting with the nature and circumstances of the offenses

4      charged.

5                  The charges here are very serious.        He stands

6      accused, this defendant, of being a major supplier of

7      chemicals used in the manufacture in Mexico of

8      methamphetamine for the notorious Cartel de Jalisco Nueva

9      Generación -- "CJNG" for short -- and this methamphetamine

10     was likely destined for sale in the United States.

11                 Many of the sales of these precursor chemicals

12     were made by a New York company owned or managed by the

13     defendant called Pro Chemie New York, Inc.          This is a

14     company that had the defendant's address as its contact

15     information -- his phone number as his contact information,

16     and he was the sole signatory for the bank account for

17     Pro Chemie New York, Inc.

18                 The government has evidence that the defendant has

19     been involved in the supply of the chemicals for around ten

20     years on a fairly large scale.        And let me just say that the

21     government's evidence supporting the use of the chemicals

22     mentioned in the complaint and in the other papers as

23     precursor chemicals for methamphetamine is very thin; I am

24     accepting that proffer.      But it would be much more helpful

25     for the government to actually explain why it says it's
     Case 1:21-cr-00597-BAH Document 47 Filed 03/31/23 Page 49 of 75      49


1      precursor chemicals.

2                  But accepting that they are precursors chemicals,

3      the financial records for just one Pro Chemie account and a

4      portion of the time, two and a half years, show incoming

5      wire transfers totaling over $5.7 million and outgoing

6      transfers to chemical suppliers in other countries to buy

7      the chemicals that were transferred to Mexico with as much

8      as $8.7 million [sic] -- millions of dollars running through

9      Pro Chemie.

10                 Pro Chemie bought a lot of chemicals.        In December

11     2020 alone, the company purchased 28,500 kilograms of sodium

12     gluconate, 23,500 kilograms of benzyl alcohol, just to name

13     two of the chemicals -- if I have got their names pronounced

14     right.

15                 Two separate shipments seized just this year each

16     involved about 22,000 kilograms of oxalic acid being sent by

17     the defendant's company, Pro Chemie, to Mexico.

18                 Basically, the defendant was involved in moving

19     large volumes of chemicals used, according to the

20     government, as precursors to the manufacture of

21     methamphetamine and in large sums of dollars around the

22     globe on a fairly continual basis.        Of course, there is

23     nothing illegal about the chemicals themselves, except when

24     used as precursors in meth production and distribution.

25                 On this point, the government has provided
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1      evidence that the defendant was not just a chemical supplier

2      to companies in Mexico.      According to two separate

3      cooperating individuals, at least back in 2011 -- as far

4      back as 2011, the defendant was selling precursor chemicals

5      for use in methamphetamine labs.        They also -- both of these

6      cooperating individuals indicated defendant had a ranch in

7      Mexico which included a meth lab.        And he, in fact, hired

8      one of these cooperators to operate it in exchange for --

9      and he also asked for payment for some of the chemicals with

10     methamphetamine.

11                 In short, the defendant appears from the

12     government's proffered evidence to be a significant player

13     in an operation to obtain necessary chemicals from around

14     the world, India and China, for the manufacture and

15     production of methamphetamine in Mexico for further

16     distribution to the United States by the CJNG.          These

17     charges are serious, and so are the penalties.          Two of the

18     counts each bear a statutory minimum sentence of ten years,

19     and allow up to a life sentence.        All told, the nature and

20     circumstances of the charged offenses weigh strongly in

21     favor of detention.

22                 But now let's turn to the weight of the evidence

23     against the defendant.      In the Court's view, there are some

24     gaps and there are some logical surprises that Ms. Hernandez

25     has pointed out about the weight of the evidence against the
     Case 1:21-cr-00597-BAH Document 47 Filed 03/31/23 Page 51 of 75      51


1      defendant but, on the whole, the Court finds that this

2      evidence is quite strong.

3                  Ms. Hernandez has pointed out that he's worked 40

4      hours a week.     We have one pay stub from a more recent

5      period.    But according to Ms. Hernandez, he's worked the

6      same 40-hour a week job, for Park Hyatt, in two different

7      places for the past 16 years.       But the evidence is also

8      clear that he may have had a 40-hour job week, but he also

9      ran Pro Chemie, which was involved -- as confirmed by clear

10     documentary evidence -- in emails, bank records, and

11     shipping manifests -- directly implicating this defendant in

12     large shipments of precursor chemicals inbound from other

13     countries to the United States and outbound to Mexico;

14     including sales to a Mexican company operated by an indicted

15     co-conspirator who is a fugitive and that, according to the

16     government's proffer, is tied to the Jalisco cartel.

17                 This evidence does involve a paper trail of

18     invoices and shipping documents and emails, and also led

19     directly to chemicals being seized twice -- at least in

20     February 2021, and twice in August 2021 -- of huge

21     quantities of oxalic acid on each occasion.          Those shipments

22     were all bound to Veracruz, Mexico, and also were through

23     this Mexico company No. 1, which the government proffers is

24     connected to the cartel.

25                 The defense counsel strenuously insists that
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1      oxalic acid and the other chemicals that the defendant --

2      that are listed in the complaint and that the defendant was

3      involved in shipping to Mexico are not listed as controlled

4      substances.    But that really misses the mark because the

5      government has explained that each of those chemicals the

6      defendant is accused of shipping to Mexico is in these

7      humongous amounts, not the 2-pound bag that the defense

8      counsel had a photograph of in her brief; but thousands,

9      22 kilogram -- 22,000 kilogram shipments of oxalic acid;

10     28,500 kilograms of sodium gluconate; 23,500 kilograms of

11     benzyl alcohol; 250 kilograms of 4-amino dichloro

12     acetophenone, and 4,800 kilograms of methyl thioglycolate;

13     are all precursor chemicals for the production of

14     methamphetamine.

15                 In fact, the government has proffered at the

16     hearing that all of the chemicals that the defendant's

17     company, Pro Chemie, arranged for purchase around the world

18     and then shipped through the United States to Veracruz were

19     all precursor chemicals for the production of

20     methamphetamine.     The precise details of how they're

21     precursors and how they're used in methamphetamine

22     production remains a mystery.       The government has -- despite

23     its access to DEA chemists, has not really explained that in

24     any kind of detail, much to the Court's frustration.            But,

25     nonetheless, based on the government's proffer, they are
     Case 1:21-cr-00597-BAH Document 47 Filed 03/31/23 Page 53 of 75        53


1      precursor chemicals for meth-making activities.

2                  Then the government has tied its evidence about

3      these precursor chemicals being used by the cartel for the

4      production of methamphetamine by two cooperating

5      individuals, CW1 and CS1, both of whom are described as

6      former members of the Jalisco cartel.         The defense counsel

7      rightly questions the reliability and credibility of these

8      sources of information about the defendant.          And given the

9      fact that -- unlike a number of other cases, as

10     Ms. Hernandez has mentioned, are bolstered by wiretap

11     interceptions and lots of other documentation even more than

12     is described here.

13                 But scrutiny of the limited information provided

14     by each of these individuals does provide some assurance on

15     this point for two reasons:

16                 First, the affiant, DEA Special Agent Cirillo,

17     states that both have proven to be reliable in the past, and

18     none of the information that either one of these individuals

19     has provided has ever found to be false or misleading.

20                 Second -- well, there are actually three reasons.

21                 The second reason is one that the government

22     counsel actually pointed out; that the information that both

23     of these cooperators independently provided about this

24     defendant's connection to a criminal conspirator and to that

25     co-conspirator's Mexican Company 1 is corroborated with the
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1      limited documentation that the government has described in

2      its papers in connection with this case showing bills of

3      lading between the companies.

4                  And then, finally, CW1 has pleaded guilty to a

5      drug trafficking crime in 2020; and the information he

6      provided about the defendant dates all the way back to 2011,

7      far before that when, according to CW1, he started buying

8      methamphetamine precursor chemicals from the defendant to be

9      used in the operation of cartel meth labs.

10                 CW1 says that he paid the defendant directly twice

11     for these chemicals, precursor chemicals -- not in cash, but

12     in methamphetamine; this is highly inculpatory information

13     about CW1's own involvement in meth trafficking which lends

14     some credence to the reliability of this information.

15                 Likewise, CS1, who is a paid DEA informant, has

16     provided information to DEA since 2014; and he also provides

17     inculpatory information about his own meth dealings in

18     connection with the defendant.

19                 In other words, both CS1 and CW1 don't talk about

20     just what illegal activity they saw the defendant engaged

21     in, but they also describe their own deep involvement as an

22     inculpatory way of their own involvement in that activity,

23     which does lend more credence to what they're saying.           The

24     weight of this evidence against the defendant is, therefore,

25     strong and favors detention.
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1                   And then, with respect to the third factor, the

2      history and characteristics of the defendant, despite an

3      alleged decade of involvement in a meth precursor pipeline,

4      the defendant has no prior criminal record in this country.

5      Indeed, he also, seemingly, held out his chemical sales

6      business in the open, using a Bank of America account.          He

7      has lived in this country for decades; owns a home in

8      New York, has a spouse.      He has children here, including one

9      child who is in college.       He has substantial connections to

10     the community here that are important considerations in

11     assessing defendant's risk of flight.

12                  He is a dual citizen, which -- of the

13     United States and Mexico, a fact which, in and of itself,

14     does not indicate he is a risk of flight.         At the same time,

15     he has significant connections to Mexico; he travels there

16     regularly.    He certainly has family there.        He last traveled

17     there as recently as this month.        And because of that, and

18     according -- he has associations with people in Mexico and

19     possibly, according to the information provided by the two

20     cooperating witnesses, he has got real estate in Jalisco.

21                  The evidence supplied by the two cooperators is

22     that the defendant meets with members of the Jalisco cartel

23     in Mexico, that he's operated a meth lab at his ranch in

24     Mexico.    He has received payment for precursor chemicals in

25     the form of methamphetamine.       And he's indicated to both the
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1      cooperators, CW1 and CS1, at separate times that he had a

2      route for the transport of methamphetamine to the

3      United States for the sale of that methamphetamine.

4                  He appears to have a fairly law-abiding life in

5      the United States working -- according to Ms. Hernandez --

6      for a long time at the Park Hyatt.        And as we have talked

7      about during the course of this hearing, there seems to be

8      sort of an interesting dichotomy between this successful

9      facade of a law-abiding citizen with his family and a

10     40-hour workweek that is also supplemented by his

11     well-documented work at Pro Chemie New York, Inc. shipping

12     precursor chemicals to Mexico.

13                 So, as Ms. Hernandez has pointed out, he wasn't --

14     he had a periodic broker -- import/export brokerage business

15     for Pro Chemie.     According to the government, all of that

16     sporadic work for Pro Chemie involved precursor chemicals

17     for methamphetamine.

18                 Whether the defendant made a lot of money off

19     whatever work he was doing at Pro Chemie shipping precursor

20     chemicals for the cartel's meth production or whether he was

21     just doing it for family in Mexico, we don't know; and it's

22     not particularly relevant here because the government has

23     provided fairly indisputable evidence that he was involved

24     with Pro Chemie shipping these chemicals to Mexico when,

25     combined with two independent cooperator witnesses'
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1      testimony, that that was for the cartel, and over a long

2      period of time.

3                  Given the rebuttable presumption that applies in

4      this case and considerations of this evidence, this factor

5      on this record, despite the law-abiding facade the defendant

6      has with his life in New York does weigh against release.

7                  As to the last factor, the nature and seriousness

8      of the danger to the community posed by release, this also

9      weighs in favor of detention.       The government has to provide

10     clear and convincing evidence that the defendant presents an

11     identified and articulable threat to the community.             See

12     Munchel, quoting Salerno.       And, here, the "identified and

13     articulable threat" is that continuation of the types of

14     chemical sales of which the defendant is accused would

15     continue to contribute to the production, importation, and

16     eventual distribution of methamphetamine.

17                 To be clear, the magistrate judge was aware of

18     this danger and created a very long list of conditions to

19     disable the defendant from being able to continue

20     coordinating and executing the types of chemical shipments

21     that he allegedly has done for a decade for the Jalisco

22     cartel, but these conditions included home incarceration,

23     essentially, placement with the defendant's spouse as a

24     custodian; restrictions on financial transactions; a ban on

25     internet access.     But monitoring compliance with all of
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1      these conditions would be nearby impossible.          The defendant

2      has a spouse and a child in the same home.          They have

3      devices probably capable of using the internet, as almost

4      every device today does have such a connection.

5                  The Court appreciates the willingness of

6      Mrs. Algredo, the defendant's wife, to serve as a

7      third-party custodian monitoring the defendant's compliance

8      with the conditions of release, but enforcing this

9      prohibition and a promise from his wife of 35 years to

10     report violations of any condition might require

11     Mrs. Algredo to consign her husband to immediate

12     imprisonment and, possibly, a very lengthy prison term.         So

13     the Court just really doesn't find any of those conditions

14     sufficient to rebut the presumption that applies here in

15     favor of pretrial detention given the resources and

16     familiarity, and all of the other considerations that have

17     been talked about; with the defendant's connections to

18     Mexico, financial resources with the cartel, just the money

19     that flows through the Pro Chemie account -- that any of

20     those conditions will be sufficient to ensure that he

21     appears for trial and doesn't flee, and that he doesn't

22     continue to pose a danger to the community by continuing the

23     shipment of precursor chemicals.

24                 So upon consideration of the proffered evidence,

25     the factors set forth in 18 U.S.C. Section 3142(g), the
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1      Court finds the statutory factors weigh in favor of pretrial

2      detention.    The government has met its burden of

3      establishing that no condition or combinations of conditions

4      will reasonably assure the safety of any other person and

5      the community, and the defendant's failed to rebut the

6      statutory presumption to that effect.

7                   So the magistrate judge's pretrial detention

8      ruling is, therefore, reversed.        The government's motion to

9      detain the defendant pretrial is granted.         The defendant

10     will be held without bond pending trial.

11                  I will issue a written order shortly should

12     Ms. Hernandez wish to appeal it, as she regularly does my

13     decisions; I take it as part of your aggressive advocacy,

14     Ms. Hernandez.

15                  So now let's turn to the initial status conference

16     part of this.

17                  Ms. Naseef, you mentioned that you have MLATs

18     outstanding, so I know there is some discovery you don't

19     have available yet to turn over to Ms. Hernandez.           But what

20     can you turn over to Ms. Hernandez promptly?

21                  MS. NASEEF:   We have already turned over 8,000

22     pages of discovery.

23                  THE COURT:    How many pages did you just say?

24                  MS. NASEEF:   8,000.

25                  The lion's share of that production was financial
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1      records.    There are additional financial records that we

2      still need to turn over, as well as some evidence we need to

3      turn over pursuant to a protective order which --

4      Ms. Hernandez and I are working on getting you a motion for

5      a protective order in this case.

6                  There are several other thousand pages of

7      discovery, at least, to be produced, not even taking into

8      consideration the three outstanding MLATs in this case.

9                  THE COURT:    Do you have any sense of timing for

10     responses to this MLAT request?

11                 MS. NASEEF:    Yes, Your Honor.

12                 We submitted the first of them in January of this

13     year, or February; it might have gone to Mexico in February.

14     And then, the two after that -- we have been following up --

15     I just followed up last week after the defendant was taken

16     into custody with the judicial attache in Mexico.           And I

17     believe I may be following up myself in the near future.            So

18     we're working as hard as we can to get them as quickly as

19     possible from the Mexican government.

20                 THE COURT:    All right.    So have you had an

21     opportunity to discuss with Ms. Hernandez when we should

22     hold our next status conference in this case?

23                 MS. NASEEF:    Yes, Your Honor.

24                 We discussed having it in one month to give the

25     government time to produce more discovery, and Ms. Hernandez
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1      time to review that discovery, and for both parties to

2      discuss the possibility of a resolution short of trial.

3                  THE COURT:    All right.    So we could set this --

4      why don't we set this down then for -- we can set this down

5      for October 29.     And I'd say -- for the status we can set

6      this down for -- we're going to have to -- I mean, I can

7      suggest a time, but we're going to be bound by when D.C.

8      Jail will give us a time for it.        So, with that

9      understanding, why don't we set this down for 9 -- why don't

10     we set this down for 9:45, on October 29th.

11                 Does that work for you, Ms. Hernandez?

12                 MS. HERNANDEZ:     Yes.   But if the time changes I

13     have a 3 p.m. in front of Judge Moss which involves a

14     defendant in Prince George's County detention facility, so I

15     think that's also not flexible.        So other than that 3 p.m.,

16     I am free all day.

17                 THE COURT:    Well, we'll try and keep track of that

18     to know that you are not available then because the D.C.

19     Jail -- I don't know when they're actually going to schedule

20     this for us.     We're really just, you know, subject to their

21     whims.

22                 Okay.   Is that convenient for the government?

23                 MS. NASEEF:    Yes, Your Honor.

24                 THE COURT:    Okay.   Any objection to exclusion of

25     time under the Speedy Trial Act between today and
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1      October 29th, Ms. Hernandez?

2                  MS. HERNANDEZ:     In light of the discovery that's

3      been produced, no, Your Honor.

4                  THE COURT:    All right.    I will then set this down

5      for the next status conference on October 29th, at 9:45, or

6      whatever other time we can get from the D.C. Jail.

7                  I will exclude time under the Speedy Trial Act

8      between today and October 29th and find that it is in the

9      interest of justice to do so, and that those interests

10     outweigh the interests of the public and Mr. Algredo Vazquez

11     for a speedier trial in order to give time for the

12     government to produce discovery and Ms. Hernandez the time

13     to review that discovery and discuss it with her client.

14                 Is that sufficient for the Speedy Trial Act,

15     Ms. Naseef?

16                 MS. NASEEF:    Yes, Your Honor.

17                 THE COURT:    All right.    If there is nothing

18     further from the government -- is there anything further

19     from the government?

20                 MS. NASEEF:    No.   No, Your Honor.

21                 THE COURT:    Ms. Hernandez, anything further?

22                 MS. HERNANDEZ:     No, Your Honor.

23                 But if your clerk can put me in a breakout room

24     with the defendant I would greatly appreciate it, if it

25     doesn't interfere with whatever else is going on with the
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1      Court.

2                  THE COURT:    Yes, that's fine.

3                  Ms. Naseef, you are excused.

4                  (Whereupon, the proceeding concludes, 2:11 p.m.)

5                  Ms. Hernandez, Ms. Gumiel, my courtroom deputy,

6      will put you in a breakout room now.

7                  I am saying good-bye.      I don't need to see you

8      again.    Thank you.

9                  MS. HERNANDEZ:     Thank you, Your Honor.

10                 (Whereupon, the proceeding concludes, 2:11 p.m.)

11                                  CERTIFICATE

12               I, ELIZABETH SAINT-LOTH, RPR, FCRR, do hereby
       certify that the foregoing constitutes a true and accurate
13     transcript of my stenographic notes, and is a full, true,
       and complete transcript of the proceedings to the best of my
14     ability.

15              PLEASE NOTE: This hearing was held via
       videoconference in compliance with the COVID-19 pandemic
16     stay-safer-at-home recommendations and is therefore subject
       to the limitations associated with the use of technology,
17     including but not limited to telephone signal interference,
       static, signal interruptions, and other restrictions and
18     limitations associated with remote court reporting via
       telephone, speakerphone, and/or videoconferencing
19     capabilities.

20              This certificate shall be considered null and void
       if the transcript is disassembled and/or photocopied in any
21     manner by any party without authorization of the signatory
       below.
22

23          Dated this 28th day of March, 2023.

24          /s/ Elizabeth Saint-Loth, RPR, FCRR
            Official Court Reporter
25
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